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 1   CLARISSE L. CRISOSTOMO, ESQ., Bar No. 15526
     Email: clarisse@nv-lawfirm.com
 2
     ATKINSON LAW ASSOCIATES LTD.
 3   376 E. Warm Springs Rd Suite 130
     Las Vegas, NV 89119
 4   Telephone: (702) 614-0600
     Attorney for Robert E. Atkinson, Trustee
 5

 6                        UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEVADA
 7
     In re:                                          Case No. 21-14486-abl
 8
     INFINITY CAPITAL MANAGEMENT, INC.               Chapter 7
     dba INFINITY HEALTH CONNECTIONS,
 9
                           Debtor.
10

11   HASELECT-MEDICAL RECEIVABLES
     LITIGATION FINANCE FUND                         Adv. No. 21-01167-abl
12   INTERNATIONAL SP,
                                                     NOTICE OF ENTRY OF ORDER
                          Plaintiff,
13
     v.
14   TECUMSEH–INFINITY MEDICAL
     RECEIVABLES FUND, LP,
15
                          Defendant,
16
     TECUMSEH–INFINITY MEDICAL
17   RECEIVABLES FUND, LP,
18                        Counter-Claimant,
     v.
19

20
     HASELECT-MEDICAL RECEIVABLES
     LITIGATION FINANCE FUND
21   INTERNATIONAL SP;
                          Counter-Defendant.
22

23
     HASELECT-MEDICAL RECEIVABLES
     LITIGATION FINANCE FUND
24   INTERNATIONAL SP,
                      Counter-Claimant,
25
     v.
26
     TECUMSEH–INFINITY MEDICAL
27   RECEIVABLES FUND, LP,

28
                      Counter-Defendant.




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 1
            PLEASE TAKE NOTICE that an order, which is attached hereto, was entered in
 2
     the above-captioned matter.
 3

 4
     DATED: May 23, 2022                     ATKINSON LAW ASSOCIATES LTD.
 5
                                             By:         /s/ Clarisse Crisostomo
 6
                                                   CLARISSE L. CRISOSTOMO, ESQ.
 7                                                 Nevada Bar No. 15526
                                                   Attorney for Robert E. Atkinson, Trustee
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  4
      Entered on Docket
___________________________________________________________________
  5 May 23, 2022

  6

  7

  8     CLARISSE L. CRISOSTOMO, ESQ., Bar No. 15526
        Email: clarisse@nv-lawfirm.com
  9
        ATKINSON LAW ASSOCIATES LTD.
 10     376 E Warm Springs Rd Suite 130
        Las Vegas, NV 89119
 11     Telephone: (702) 614-0600
 12
        Attorney for Robert E. Atkinson, Trustee

 13                        UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEVADA
 14
           In re:                                          Case No. 21-14486-abl
 15
                                                           Chapter 7
 16
           INFINITY CAPITAL MANAGEMENT, INC.
           dba INFINITY HEALTH CONNECTIONS,
 17                             Debtor.
 18
           HASELECT-MEDICAL RECEIVABLES                    Adv. No. 21-01167-abl
 19
           LITIGATION FINANCE FUND
 20        INTERNATIONAL SP,                               ORDER GRANTING MOTION TO
                               Plaintiff,                  SUBSTITUTE PARTY AND RE-
 21
           v.                                              CAPTION CASE
 22
           TECUMSEH–INFINITY MEDICAL                       Hearing Date:   April 6, 2022
 23        RECEIVABLES FUND, LP,                           Hearing Time:   9:30 a.m.
                               Defendant.
 24
                                                           Oral Ruling Date:   April 28, 2022
 25                                                        Oral Ruling Time:   3:00 p.m.

 26

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 28




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 1
      TECUMSEH–INFINITY MEDICAL
 2    RECEIVABLES FUND, LP,
 3                          Counter-Claimant,
      v.
 4

 5    HASELECT-MEDICAL RECEIVABLES
      LITIGATION FINANCE FUND
 6
      INTERNATIONAL SP; ROBERT E. ATKINSON,
      CHAPTER 7 TRUSTEE,
 7
                            Counter-Defendants.
 8

 9    ROBERT E. ATKINSON, CHAPTER 7 TRUSTEE,
                           Counter-Claimant,
10
      v.
11
      TECUMSEH–INFINITY MEDICAL
12    RECEIVABLES FUND, LP,

13
                           Counter-Defendant.

14

15          The Trustee’s motion entitled MOTION TO SUBSTITUTE PARTY AND
16   RECAPTION CASE [Adv. ECF #45] (the “Motion”), came on for hearing before the Court on
17   April 6, 2022. An oral ruling on this matter was held on April 28, 2022 (“Oral Ruling”).
18   Appearances at the hearings were as noted on the record.
19          All findings of fact and conclusions of law orally stated by the Court at the Oral Ruling
20   are incorporated herein pursuant to Fed. R. Civ. P. 52, as made applicable to these proceedings
21   via Fed. R. Bankr. P. 9014(c) and 7052. For the reasons stated by the Court on the record at
22   the Oral Ruling,
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///



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 1
     IT IS HEREBY ORDERED:
 2
           1.   The Motion, and all of the relief sought therein, is granted in full.
 3
           2.   The Trustee is hereby removed as a Counter-Defendant for Tecumseh’s counterclaim
 4
                against the Trustee, and HASelect is hereby substituted for the Trustee as the Counter-
 5
                Claimant to prosecute the counterclaim against Tecumseh.
 6
           3.   The Clerk of the Court shall modify the case docket as follows:
 7
                         a. For Tecumseh’s counterclaim against the Trustee and HASelect (filed in
 8
                             Adv. ECF #12), the party ROBERT E. ATKINSON, CHAPTER 7
 9
                             TRUSTEE shall be entirely removed as Counter-Defendant. Only
10
                             HASelect shall defend this counterclaim.
11
                         b. For the Trustee’s counterclaim (filed in Adv. ECF #28), HASELECT-
12
                             MEDICAL RECEIVABLES LITIGATION FINANCE FUND
13
                             INTERNATIONAL LP (represented by Bart Larsen, Esq. of the law firm
14
                             Shea Larsen) shall be substituted in as Counter-Claimant, in the place and
15
                             stead of ROBERT E. ATKINSON, CHAPTER 7 TRUSTEE.
16
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 1
       4.   For all filings made after the entry of any order approving this motion, the caption to
 2
            this adversary case shall be:
 3

 4                         In re:                                      Case No. 21-14486-abl
                                                                       Chapter 7
 5                        INFINITY CAPITAL MANAGEMENT, INC.
                          dba INFINITY HEALTH CONNECTIONS,
 6
                                                     Debtor.
 7
                          HASELECT-MEDICAL RECEIVABLES                 Adv. No. 21-01167-abl
 8
                          LITIGATION FINANCE FUND
                          INTERNATIONAL SP,
 9
                                                 Plaintiff,            [Pleading Title]
10                        v.

11                         TECUMSEH–INFINITY MEDICAL
                           RECEIVABLES FUND, LP,
12
                                                 Defendant,
13
                           TECUMSEH–INFINITY MEDICAL
14                         RECEIVABLES FUND, LP,

15
                                                 Counter-Claimant,
                           v.
16

17                        HASELECT-MEDICAL RECEIVABLES
                          LITIGATION FINANCE FUND
18                        INTERNATIONAL SP,
                                                 Counter-
19                                               Defendant.

20
                           HASELECT-MEDICAL RECEIVABLES
21                         LITIGATION FINANCE FUND
                           INTERNATIONAL SP,
22                                              Counter-Claimant,

23                         v.

24                         TECUMSEH–INFINITY MEDICAL
                           RECEIVABLES FUND, LP,
25
                                                Counter-Defendant.
26

27
     IT IS SO ORDERED.
28                                           # # #



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                                                                                    5



 1
     Respectfully submitted by:
 2
        /s/ Clarisse L. Crisostomo
 3   CLARISSE L. CRISOSTOMO, ESQ.
     Nevada Bar No. 15526
 4

 5

 6
                                   CERTIFICATION re: RULE 9021
 7

 8   In accordance with LR 9021, counsel submitting this document certifies that the order
     accurately reflects the court’s ruling and that (check one):
 9
            The court has waived the requirements set forth in LR 9021(b)(1).
10

11          No party appeared at the hearing or filed an objection to the motion.

12          I have delivered a copy of this proposed order to all counsel who appeared at the
            hearing, and any unrepresented parties who appeared at the hearing, and each has
13
            approved or disapproved the order, or failed to respond, as indicated below:
14
            Bart Larsen, Esq. (counsel for HASelect) – APPROVED
15          Gabrielle Hamm, Esq. (counsel for Tecumseh) - APPROVED
16
            I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
17          order with the motion pursuant to LR 9014(g), and that no party has objected to the
            form or content of the order.
18                                                ###
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